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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                       TYLER DIVISION


  STATE OF TEXAS, et al.,

                                  Plaintiffs,

  v.
                                                        CIVIL ACTION NO. 6:24-cv-00437-JDK
  BLACKROCK, INC.,
  STATE STREET CORPORATION,
  THE VANGUARD GROUP, INC.,

                                  Defendants.


       APPENDIX IN SUPPORT OF DEFENDANT THE VANGUARD GROUP, INC.’S
               MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                    DEFENDANTS’ JOINT MOTION TO DISMISS

           The Vanguard Group, Inc. respectfully submits the following appendix of exhibits

 supporting its memorandum in support of Defendants’ joint motion to dismiss.

                                       INDEX OF EXHIBITS

   Exhibit
                                                   Description
    No.
                2021 Securities Exchange Commission Form N-PX Report, Annual Report of
       1
                Proxy Voting Record for Vanguard Total Stock Market Index Fund (excerpts)
                2022 Securities Exchange Commission Form N-PX Report, Annual Report of
       2
                Proxy Voting Record for Vanguard Total Stock Market Index Fund (excerpts)
                2023 Securities Exchange Commission Form N-PX Report, Annual Report of
       3
                Proxy Voting Record for Vanguard Total Stock Market Index Fund (excerpts)
                Vanguard, THE NET ZERO ASSET MANAGEMENT INITIATIVE (Dec. 4, 2022) (cited in
       4
                Amended Complaint ¶ 137 n.73)
                Investment Stewardship: 2021 Annual Report, VANGUARD (JUNE 20, 2013) (cited
       5
                in Amended Complaint ¶ 157 n.99) (excerpts)
                Letter from F. William McNabb III, Vanguard’s Chairman and CEO (Feb. 27,
       6
                2015) (cited in Amended Complaint ¶ 155 n.97)
                Vanguard Investment Stewardship Insights: Vanguard’s expectations for
       7        companies with significant coal exposure, VANGUARD (Dec. 2021) (cited in
                Amended Complaint ¶ 138 n.74)



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